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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION FILED VIA MAIL

JACKSONVILLE, FLORIDA
In re: : MAY 2 5 2018

: Chapter 7 CLERK, U.S, BANKRUPTCY COURT
LILLY JOSEPHINE REAL. ’ MIDDLE DISTRICT OF FLORIDA

 

Case No.:16-03913(JAF)
Debtor.

MOTION FOR CLARIFICATION OR ALTERNATIVELY TO SCHEDULE A
HEARING ON WAIVER OF FEE APPLICATION

FRANK E. POLO SR. (the “Creditor”), hereby files this motion for clarification and states

as follows:

1. This court has resume to send mails to the wrong address where Mr. Polo does not have
his place of abode; therefore, making access to mail more difficult.
2. Yesterday, May 24, 2018 Mr. Polo received the following document which were mailed
to his Mother’s house:
a. Order Directing Immediate Payment of Filing Fee (related document(s)44).
Compliance required no later than 5/24/2018. Which was filed on May 17,

2018.!

 

Order Directing Immediate Payment of Filing Fee (related document(s)44). Compliance required no later

than 5/24/2018. Service Instructions: Clerks Office to serve. (Cathy P.) (Entered: 05/17/2018)

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b. The Docket reflects that on May 19, 2018 a second, or the same document
received yesterday, was mailed but this was entered on May 20, 2018 according
to the docket?

c. On May 18, 2018, the docket reflect that Mr. Polo filed an application to have
the filing fee waived and which has not been adjudicated.’

Mr. Polo respectfully requests this court clarification on whether Mr. Polo has to pay the
fee. Or alternatively if there should be a hearing for the petition to waive the fees, then, please,

considered this my petition for a hearing on this matter.

 

Respectfully Submitted,
~ FRANK E. POLO SR. / a
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9619 Fontainebleau Blvd. Apt 17
Miami, FL. 33172
Phone: 305-901-3360
CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished to the
following attorney at the following email address Edward@edwardpjackson.com; which has been
provided as means of electronic service, on this 24th day of May 2018, and subsequent hard copy

was mailed to the clerk of courts at: 300 N Hogan St #3-350, Jacksonville, FL 32202.

 

2 “BNC Certificate of Mailing - PDF Document. (related document(s) (Related Doc # 51)). Notice Date
05/19/2018. (Admin.) (Entered: 05/20/2018)”

3 Application to Have the Filing Fee Waived Filed by Creditor Frank Polo (Penny) (Entered: 05/21/2018)

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